444 F.2d 538
    AXE-FILM, INC., et al., Plaintiffs-Appellants,v.The HERTZ CORPORATION et al., Defendants-Appellees.
    No. 71-1054 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    July 13, 1971.
    
      Appeal from the United States District Court for the Eastern District of Louisiana; James A. Comiskey, Judge.
      Jacob J. Meyer, Louis J. Dutrey, Clay, Coleman, Dutrey &amp; Thomson, New Orleans, La., for plaintiffs-appellants.
      Emile L. Turner, Jr., Turner &amp; Skinner, New Orleans, La., for defendants-appellees.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5th Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409, Part I
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    